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04

05                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
06                                      AT SEATTLE

07 UNITED STATES OF AMERICA,              )              Case No. CR03-0103-TSZ
                                          )
08         Plaintiff,                     )
                                          )
09         v.                             )              SUMMARY REPORT OF U.S.
                                          )              MAGISTRATE JUDGE AS TO
10   NATASHA MARIE SARDEN,                )              ALLEGED VIOLATIONS
                                          )              OF SUPERVISED RELEASE
11         Defendant.                     )
     ____________________________________ )
12
            An initial appearance on a petition for violation of supervised release in this case was
13
     scheduled before me on July 13, 2005. The United States was represented by Assistant United
14
     States Attorney Joanne Maida, and the defendant by Mr. Ralph Hurvitz. The proceedings were
15
     recorded on cassette tape.
16
            Defendant had been sentenced on or about June 20, 2003, by the Honorable Thomas S.
17
     Zilly, on charges of bank fraud and impeding a federal officer, and sentenced to thirty (30)
18
     months in prison and five (5) years of supervised release.
19
            The conditions of supervised release included requirements that defendant comply with
20
     all local, state, and federal laws, and with the standard conditions of supervision. Other special
21
     conditions included substance-abuse and mental-health treatment, financial disclosure, submitting
22
     to search, maintaining a single checking account, inspection of any personal computer, obtaining
23
     no new credit, obtaining no identification in any name other than her own, cooperation with the
24
     Internal Revenue Service, and restitution.
25
            In an Petition for Warrant or Summons dated June 6, 2005, U.S. Probation Officer Felix
26
     Calvillo, Jr., alleged the following violations of the conditions of supervised release:


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01          1.      Consuming marijuana and alcohol on or about April 5, 2005, in violation of the

02 general and special condition that she refrain from any unlawful use of a controlled substance,

03 and that she abstain from using alcohol or other intoxicants, this being in violation of standard

04 condition #7.

05          2.      Committing the crime of providing false information to police in King County,

06 Washington, on or about April 14, 2005, in violation of the general condition that she not commit

07 a federal, state, or local crime.

08          The defendant was advised in full as to those charges and as to her constitutional rights.

09          The defendant admitted to violation No. 1, and waived any evidentiary hearing as to

10 whether it occurred. The defendant denied violation No. 2, and requested an evidentiary hearing

11 on the alleged violation before the undersigned Magistrate Judge.

12          On July 21, 2005, an evidentiary hearing on violation No. 2 was scheduled. At the time

13 of the hearing, defendant was advised in full as to the charge and as to her constitutional rights.

14 Defendant admitted to violation No. 2.

15          I therefore recommend the Court find defendant violated her supervised release as

16 alleged, and that the Court conduct a disposition hearing on violations No. 1 and No. 2. A final

17 hearing as to any sentence for violation of supervised release has been set before The Hon.

18 Thomas S. Zilly, on August 11, 2005, at 10:30 a.m.

19          Pending a final determination by the Court, defendant has been released subject to the

20 provisions of her supervised release.



                                                          A
21          DATED this 27th day of July, 2005.

22
                                                          JAMES P. DONOHUE
23                                                        United States Magistrate Judge
24
     cc:    District Judge:                The Hon. Thomas S. Zilly
25          AUSA:                          Ms. Joanne Maida
            Defendant’s attorney:          Mr. Ralph Hurvitz
26          Probation officer:             Mr. Felix Calvillo, Jr.


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